 Case: 1:19-cv-00189-MRB Doc #: 101 Filed: 04/02/21 Page: 1 of 9 PAGEID #: 2850




                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 SLUSH PUPPIE LIMITED,                       ) Case No. 1:19-cv-00189-MRB
                                             )
                Plaintiff,                   ) Judge Michael R. Barrett
                                             )
        vs.                                  ) Magistrate Judge Bowman
                                             )
 THE ICEE COMPANY,                           )
                                             )
                Defendant.                   )


    MOTION TO STRIKE OR TO NOT CONSIDER DEFENDANT THE ICEE
COMPANY’S REPLY MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR
 SANCTIONS (DOC. #98), OR IN THE ALTERNATIVE, MOTION FOR LEAVE TO
                  FILE SUR-REPLY OF RESPONDENTS


       NOW COMES Respondents, Non-Parties Benesch, Friedlander, Coplan & Aronoff LLP,

Mark Avsec, Elizabeth R. Emanuel, Matthew D. Gurbach, Ronald L. House, Jennifer M. Turk,

and Eric Larson Zalud (“collectively Benesch”) and hereby move this Court to either strike or not

consider ICEE Company’s (“ICEE”) Reply Memorandum (Doc. #98). In the alternative, Benesch

moves for leave to file a Sur-Reply. The reasons why this Motion should be granted are set forth

in the attached Memorandum.




                                               1
Case: 1:19-cv-00189-MRB Doc #: 101 Filed: 04/02/21 Page: 2 of 9 PAGEID #: 2851




                                          Respectfully submitted,

                                          /s/ Patrick Kasson
                                          Patrick Kasson (0055570) (Trial Attorney)
                                          Steven A. Chang (0088321)
                                          REMINGER CO., L.P.A.
                                          200 Civic Center Drive, Suite 800
                                          Columbus, Ohio 43215
                                          (614) 228-1311 / Fax: (614) 232-2410
                                          pkasson@reminger.com
                                          schang@reminger.com

                                          Robert W. Hojnoski (0070062)
                                          Ian D. Mitchell (0090643)
                                          REMINGER CO., L.P.A
                                          525 Vine Street, Suite 1500
                                          Cincinnati, Ohio 45202
                                          (513) 721-1311 / Fax: (513) 721-2553
                                          rhojnoski@reminger.com
                                          imitchell@reminger.com

                                          Counsel for Non-Parties Benesch,
                                          Friedlander, Coplan & Aronoff LLP, Mark
                                          Avsec, Elizabeth R. Emanuel, Matthew D.
                                          Gurbach, Ronald L. House, Jennifer M. Turk,
                                          and Eric Larson Zalud




                                      2
     Case: 1:19-cv-00189-MRB Doc #: 101 Filed: 04/02/21 Page: 3 of 9 PAGEID #: 2852




                                               MEMORANDUM

         ICEE’s 277-page “Reply” is a “do over” confirming its initial Motion for Sanctions was

woefully deficient. It also is a blatant and knowing violation of (1) Benesch’s due process rights,

(2) the Southern District of Ohio’s Local Rules, (3) this Court’s Standing Orders, (4) controlling

Sixth Circuit law, and (5) this Court’s Notation Order granting Plaintiff’s additional pages for the

“Reply.” (Order, entered March 17, 2021).                  Indeed, tacitly admitting that its anemic 3-page

argument in its initial Motion is not sufficient to satisfy due process, ICEE seeks a “do over” with

an effectively renewed Motion for Sanctions under the guise of a “Reply” – nearly three times the

size of the original Motion. It must be stricken and/or not considered by the Court. Alternatively,

Benesch is entitled to a full response to this “renewed” Motion for Sanctions that dwarfs the

original filing.

I.       ICEE AND ITS COUNSEL KNOWINGLY VIOLATED THIS COURT’S LOCAL
         RULES, STANDING ORDERS, AND CONTROLLING SIXTH CIRCUIT LAW.

         ICEE’s violation of this Court’s Local Rules, Standing Orders, and controlling Sixth

Circuit law provide a clear basis to strike1, or not consider ICEE’s “Reply,” in its entirety. ICEE’s

violations are particularly egregious as ICEE’s Philadelphia counsel’s pro hac vice status is

contingent upon complying with this Court’s Orders. See Dish Network v. Fun Dish, 2017 U.S.

Dist. LEXIS 204220, at *22-23 (N.D. Ohio 2017) (revoking pro hac vice status for multiple




1
  Benesch acknowledge this Court’s decision in Nokes v. Miami Univ., in which Judge Barrett opined that the Federal
Rules of Civil Procedure “provide no mechanism for ‘striking’ documents other than pleadings.” Nokes v. Miami
Univ., No. 1:17-cv-482, 2017 U.S. Dist. LEXIS 136880, at *23 (Aug. 25, 2017). A court should ignore improper
memoranda. Id. (citing Johnson v. Wolgemuth, 257 F. Supp. 2d 1013, 1024 S.D Ohio 2003). However, other Courts,
in analyzing Nokes, have held that the district court has the inherent power to strike non-pleadings, particularly those
that violate local rules. See Newman v. Univ. of Dayton, No. 3:17-cv-179, 2017 U.S. Dist. LEXIS 148877, at *6 (S.D.
Ohio Sept. 14, 2017) (gathering gases striking non-pleadings in this district). And this Court has previously recognized
its own authority to do the same. Macum v. Jones, No. 1:15-CV-239, 2016 U.S. Dist. LEXIS 37031 (S.D. Ohio Mar.
22, 2016) (upholding magistrate’s decision striking a sur-reply without leave filed in violation of R. 7.2(a)(2)).

                                                           3
     Case: 1:19-cv-00189-MRB Doc #: 101 Filed: 04/02/21 Page: 4 of 9 PAGEID #: 2853




violations of a District Court’s Orders). ICEE has violated this Court’s rules and Sixth Circuit law

in at least the following five ways:

1.       Rule: A brief and memorandum cannot exceed twenty (20) pages in length, without first

obtaining leave of Court. (J. Barrett Standing Order, Section G); (S.D. Ohio Civ. R. 7.2(a)(3)).

ICEE’s Violation: ICEE’s reply brief violates the Standing Order, Local Rule 7.2, and this Court’s

March 17, 2021 Notation Order, as it effectively contains 41 pages, inclusive of its 16 page

“chronologies” that were specifically drafted by counsel and attached as an “Appendix” to skirt

local rules. Federal courts have routinely rejected this transparent ploy to avoid page limitations.

See, e.g., Numatics, Inc. v. H.H. Balluff, Inc., No. 13-11049, 2014 U.S. Dist. LEXIS 156914, at *2

(E.D. Mich. Nov. 6, 2014) (granting motion to strike where an attorney attempted to avoid the 25-

page limit local rule by attaching “facts” as “an appendix to the brief.”); Winton Transp. v. South,

No. 1:05CV471, 2007 U.S. Dist. LEXIS 65947, at *3, n.2 (S.D. Ohio Sept. 6, 2007) (holding that

Local Rule 7.2(a)(3) requires facts to be asserted in a supporting memoranda and parties cannot

circumvent this rule by including such facts outside of the brief in order to “devote the whole

twenty pages to addressing their legal arguments”).

2.       Rule: A brief must contain a combined table of contents and summary of the

argument, with a “succinct, clear, and accurate summary,” indicating the principal arguments in

the brief, with citations to authority. Id.

ICEE’s Violation: ICEE’s reply brief violates the Standing Order, Local Rule 7.2(a)(3), and this

Court’s March 17, 2021 Notation Order, as it does not contain a combined table of contents and

summary of the argument. The Notation Order even specifically warned ICEE that it must

comply with “S.D. Ohio Civ. R. 7.2(a)(3) and Part I.G. of this Court's Standing Order on Civil




                                                 4
     Case: 1:19-cv-00189-MRB Doc #: 101 Filed: 04/02/21 Page: 5 of 9 PAGEID #: 2854




Procedures,” in granting its motion for leave. Notably, if pro hac counsel was confused about this

Local Rule, it could have looked to Benesch’s Opposition Memorandum, which complies.

3.        Rule: When “proof of facts not already of record is necessary to support . . . a motion, all

evidence then available shall be discussed in, and submitted no later than, the primary

memorandum of the party relying upon such evidence.” (S.D. Ohio Civ. R. 7.2(d)) (emphasis

added).

ICEE’s Violation: ICEE’s reply brief violates Local Rule 7.2(d) by attaching 230+ pages of

evidence that was available at the time of the filing of its Motion and was required to be submitted

with its “primary memorandum,” not a reply brief.

4.        Rule: Only evidence, not statements of facts or “chronologies” drafted by counsel, may

be included in an Appendix to a Memoranda. (S.D. Ohio Civ. R. 7.2(e)).

ICEE’s Violation: ICEE's reply brief violates Local Rule 7.2(e) by attaching documents it

prepared – not actual evidence –in an “Appendix.”

5.        Rule: A party may not make new arguments, or rely on new evidence, in a reply brief.

See, e.g., Abraitis v. United States, 2012 U.S. Dist. LEXIS 97350, at *2 (N.D. Ohio July 13, 2012)

(holding that, under Sixth Circuit law, “[n]ew evidence and new arguments are not appropriate in

a reply brief” and are considered waived) (citing Scottsdale Ins. Co v. Flowers, 513 F.3d 546, 553

(6th Cir. 2008)).

ICEE’s Violation: ICEE violates well-settled Sixth Circuit law by presenting new evidence and

arguments on reply, including, without limitation, the 230 pages of “new evidence” and numerous

new permutations of its original arguments. Id.

          District courts in the Southern District have routinely granted motions to strike memoranda

for blatant violations of local rules. See Newman v. Univ. of Dayton, No. 3:17-cv-179, 2017 U.S.



                                                   5
  Case: 1:19-cv-00189-MRB Doc #: 101 Filed: 04/02/21 Page: 6 of 9 PAGEID #: 2855




Dist. LEXIS 148877, at *6 (S.D. Ohio Sept. 14, 2017) (gathering nearly a dozen decisions striking

memoranda for violations of local rules). This Court should do the same.

II.    DUE PROCESS DEMANDS THE REPLY BRIEF BE STRICKEN.

       The “Reply” is a knowing, disingenuous attempt to skirt due process and deny Benesch

with a meaningful opportunity to respond. ICEE had a burden to state, with particularity, the basis

for its request for sanctions from the outset. Cook v. Am. S.S. Co., 134 F.3d 771, 776 (6th Cir.

1998) (show cause order does not shift burden of proof); Nisus Corp. v. Perma-Chink Sys., No.

3:03-CV-120, 2007 U.S. Dist. LEXIS 58363, at *10-11 (E.D. Tenn. Aug. 9, 2007) (summarizing

cases denying motions for sanctions for failing to provide particularized notice). It did not.

Instead, it filed the “Reply,” which is nearly three times the size of its original Motion. The

“Reply” sets forth new claimed bases for sanctions and attempts to use – as its evidentiary basis –

Benesch’s Memorandum in Opposition. Because due process cannot be satisfied through a Reply

– as Benesch’s opportunity to respond has been vitiated – the Reply should be stricken or not

considered. And in this case, ICEE’s game is apparent. Its “Reply” is really a new Motion for

Sanctions and attempts to use as its basis Benesch’s response to its original Motion. It appears

that the original Motion was just a game to attempt to shift the burden of proof to Benesch, as

ICEE spends most of its “Reply” arguing only what Benesch did not prove. Regardless, the use

of a Reply to satisfy due process requirements is improper.

       ICEE does not dispute that due process requires particularized notice of the allegations as

against each attorney and an opportunity to respond. (See Doc. # 98, PageID # 2526) (attempting

to describe how its 16-page narrative satisfies this particularized notice requirement). The filing

of its Reply Brief admits as much – using 25 pages of briefing to expand on its three-page




                                                6
 Case: 1:19-cv-00189-MRB Doc #: 101 Filed: 04/02/21 Page: 7 of 9 PAGEID #: 2856




conclusory assertions of its original motion and “clarifying” what actions it seeks to hold which

attorneys accountable. (See generally Id.)

         Coming in a Reply Brief, however, this is too little, too late, to satisfy due process. (Nisus

Corp. v. Perma-Chink Sys., No. 3:03-CV-120, 2007 U.S. Dist. LEXIS 58363, at *10-11 (E.D.

Tenn. Aug. 9, 2007) (summarizing cases denying motions for sanctions for failing to provide

particularized notice in its motion). ICEE should not be permitted to engage in a shell game. ICEE

cannot be purposefully vague by failing to set forth, in its initial motion, the specific law under

which sanctions are sought, for what conduct, as against which attorney. And then come back on

reply to “clarify” what it really meant, without an opportunity for a response from Benesch.

         As just one example, ICEE in its original motion seeks sanctions pursuant to Rule 26(g)

against Mr. House, Ms. Emanuel, Ms. Turk, and Mr. Gurbach, but failed to specify on what basis

such sanctions were brought against Mr. House, Ms. Emanuel, or Ms. Turk, who did not even

sign the discovery responses. (Doc. # 89, PageID # 2316, 2321). ICEE now implicitly “clarifies”

in its reply brief that it is only really seeking sanctions under that law against Mr. Gurbach. But

ICEE provides no explanation for its prior frivolous request for sanctions against Mr. House, Ms.

Emanuel, and Ms. Turk pursuant to Rule 26(g). (Doc. # 98, PageID # 2521-24). Each section of

ICEE’s “Reply” contains similar clarifications, and permutations of their original allegations. If

ICEE wanted a “do over,” it could have withdrawn the Motion. What it cannot do is wait to

ambush its adversary on reply. The brief should be stricken or, at minimum, disregarded by the

Court.




                                                   7
  Case: 1:19-cv-00189-MRB Doc #: 101 Filed: 04/02/21 Page: 8 of 9 PAGEID #: 2857




III.   ALTERNATIVELY, BENESCH MUST BE AFFORDED AN OPPORTUNITY TO
       FULLY RESPOND TO ICEE’S “REPLY,” WHICH IS AN AMENDED MOTION
       FOR SANCTIONS.

       Alternatively, Benesch should be afforded an opportunity to respond to this new evidence,

and “revised” arguments, in full. The Sixth Circuit has routinely recognized a right to file a sur-

reply when an adversary has become a moving target, saving for its reply brief a multitude of

arguments and evidence in an effort to deny Benesch with an opportunity to respond. Eng’g &

Mfg. Servs., LLC v. Ashton, 387 Fed. Appx. 575, 583 (6th Cir. 2010) (holding that trial court

abused its discretion in denying motion for leave to file a sur-reply brief where a party presented

new arguments and new evidence on reply, and therefore vitiated the respondent’s right “to notice

and a reasonable opportunity to respond”); NCMIC Ins. Co. v. Smith, 375 F. Supp. 3d 831, 836

(S.D. Ohio 2019) (“Generally, ‘good cause’ exists where the reply brief raises new grounds that

were not included in movant’s initial motion.”) (citation omitted); Guyton v. Exact Software N.

Am., 2015 U.S. Dist. LEXIS 170241, at *10 (S.D. Ohio Dec. 21, 2015) (granting motion to file

sur-reply to correct misstatements by opposing party). And, in fact, courts have held that leave to

file a sur-reply should be granted, even without good cause, if a party “will suffer no prejudice by

the filing of the sur-reply.” NCMIC, 375 F. Supp. 3d at 836.

       Here, due process and controlling Sixth Circuit law requires that this Court provide

Benesch an opportunity to respond if it does not strike and/or disregard ICEE’s reply.

Accordingly, if this Court denies the instant motion to strike, Benesch respectfully request leave

to file a Sur-Reply.




                                                 8
  Case: 1:19-cv-00189-MRB Doc #: 101 Filed: 04/02/21 Page: 9 of 9 PAGEID #: 2858




                                                      Respectfully submitted,

                                                      /s/ Patrick Kasson
                                                      Patrick Kasson (0055570) (Trial Attorney)
                                                      Steven A. Chang (0088321)
                                                      REMINGER CO., L.P.A.
                                                      200 Civic Center Drive, Suite 800
                                                      Columbus, Ohio 43215
                                                      (614) 228-1311 / Fax: (614) 232-2410
                                                      pkasson@reminger.com
                                                      schang@reminger.com

                                                      Robert W. Hojnoski (0070062)
                                                      Ian D. Mitchell (0090643)
                                                      REMINGER CO., L.P.A
                                                      525 Vine Street, Suite 1500
                                                      Cincinnati, Ohio 45202
                                                      (513) 721-1311 / Fax: (513) 721-2553
                                                      rhojnoski@reminger.com
                                                      imitchell@reminger.com

                                                      Counsel for Non-Parties Benesch,
                                                      Friedlander, Coplan & Aronoff LLP, Mark
                                                      Avsec, Elizabeth R. Emanuel, Matthew D.
                                                      Gurbach, Ronald L. House, Jennifer M. Turk,
                                                      and Eric Larson Zalud



                                 CERTIFICATE OF SERVICE


       I hereby certify that on April 2, 2021 a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt. Parties may access this filing through the Court’s system.



                                                      /s Patrick Kasson
                                                      Patrick Kasson (0055570) (Trial Attorney)




                                                  9
